                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI



BILLIE RODRIGUEZ, DANIEL ERWIN,                         Case No. 4:24-cv-00803-SRB
MICHAEL B. ACKERMAN, and KYLE
FOREMAN, individually and on behalf of all
others similarly situated,

                        Plaintiffs,

         vs.

EXXON MOBIL CORPORATION,
CHEVRON USA, INC., CHEVRON
PHILLIPS CHEMICAL CORPORATION,
DUPONT de NEMOURS, CELANESE
CORPORATION, DOW INC., DOW
CHEMICAL COMPANY, EASTMAN
CHEMICAL COMPANY,
LYONDELLBASELL INDUSTRIES N.V.,
AND AMERICAN CHEMISTRY COUNCIL,

                        Defendants,

and

STATE OF KANSAS, ex rel. KRIS W.
KOBACH, Attorney General,

                        Defendant-Intervenor.


                              DECLARATION OF KARI ENDRIES


         I, Kari Endries, declare under penalty of perjury that the foregoing is true and correct:

      1. I am Secretary & Vice President of Chevron U.S.A. Inc. (“CUSA”). My job

         responsibilities for CUSA include corporate governance support, such as overseeing the

         filing of governance documents with relevant Secretary of State agencies, overseeing

         appointment of officers and directors, minuting relevant transactions, and maintaining the

         governance records of the Company.



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    2. Defendant CUSA is a Pennsylvania corporation. CUSA’s principal place of business is

       in San Ramon, California.

    3. I understand that this case concerns certain plastic resins, namely polyethylene

       terephthalate, polyethylene, polypropylene, polystyrene, polycarbonate, high density

       polyethylene, and low density polyethylene.

    4. CUSA does not currently and has never produced, manufactured, marketed, advertised,

       or sold any plastic resins including polyethylene terephthalate, polyethylene,

       polypropylene, polystyrene, polycarbonate, high density polyethylene, and low density

       polyethylene.

    5. Prior to May 23, 2000, the only corporate affiliate of CUSA that had produced,

       manufactured, marketed, advertised, or sold plastic resins in the United States was

       Chevron Chemical Company, which later became Chevron Chemical Company LLC

       (“Chevron Chemical”). But pursuant to an agreement dated May 23, 2000, Chevron

       Chemical was conveyed to Chevron Phillips Chemical Company LLC (“CPChem”).1

       CPChem is a limited liability company that is owned 50 percent by CUSA and 50 percent

       by Phillips 66 Company, a subsidiary of Phillips 66.

    6. Because CUSA does not currently and has never operated a plastic resins business of its

       own, it has not done any of the following:

           a. distributed, supplied, marketed, advertised, or sold products to end-consumers

               that were manufactured with plastic resins it produced or manufactured;




1
    A copy of the agreement with CPChem can be found at the U.S. Securities and Exchange
    Commission website at https://www.sec.gov/Archives/edgar/data/1127399/
    000095012301502180/y47109a1ex10-1.txt.


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